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                               LNITED STATES DISTRICT COURT
                                   DISTRICT OF'MIM{ESOTA
                                    Cr. No, 20-l l3 (DSD/BRT)

UNITED STATES OF AMEzuCA,                         )
                                                  )
                        Plaintiff,                )         STATEMENT OF FACTS IN
                                                  )         suPPoRT OF DXCLUSION OF
               V,                                 )         TTME UNDER SPEBDY TRIAL
                                                  )         ACT
JOSE A.   FELAN, JR.,                             )
                                                  )
                        Defendant.                )

       Pursuant to 18 U.S.C. $ 3161(hX7)(A), I Jose Felan, Jr., the defendant in this case, agree

to the follou,ing staternent of facts in support of my Motion for an Extension of the Motions

Filing Date and Other Dates and to exclude time under the Speedy Trial Act. This case is a

complicated case, in whicir thc governrnent has provided my defense counsel over 900 pages               of

discovery, and numerous video recordings. My defense counsel rnailed the discovery on a flash

drive to me at the Sherburne County Jail on       April   16,   2027,hil tlre jail officials have in{bnned

my attomey that the jail did not receive the flash drive. Therefore, my attorney is mailing rnc

another copy of the discovely. \,1y defense counsel and I need rnore time to review the discovery

to detemrine r,vhat rnotions to file with the Couft.

       Basecl on the above facts,    I request   that tlie period of time fi'orn now until June 1,2021 be

excluded fi'orn the time in whicli I would otlierwisc have to be brought to trial on my case.

       I have discussed this matter with rny attomeys. I voluntanly rnake this request, r,vith full

knowledge of rny rights undcr the Speedy Trial Act.

I)ated:          ,/       /
          1/8/             at                                      A.F
                                                            Defbnclant
                                                                                      l.-:r"




Dared: '/ I    >j I )- I                                    Robert D. Sicoli, Attorney for I
